Case 4:14-cr-00048-RWS-KPJ             Document 124         Filed 07/10/17      Page 1 of 1 PageID #:
                                              535
                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 UNITED STATES OF AMERICA                           §
                                                    §
 v.                                                 §    CRIMINAL NO. 4:14-CR-48 RWS/KPJ
                                                    §
 JENNIFER FIELDER (2)                               §


                  MEMORANDUM ADOPTING REPORT AND
          RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

          Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for revocation of Defendant’s supervised release to the United States Magistrate

 Judge for proper consideration. The Court has received the Report of the United States Magistrate

 Judge pursuant to its order. Defendant having waived allocution before this Court as well as her

 right to object to the Report of the Magistrate Judge, the Court is of the opinion that the findings and

 conclusions of the Magistrate Judge are correct.
      .
          It is, therefore, ORDERED that the Magistrate Judge’s Report is ADOPTED as the opinion

 of the Court. It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

 It is further ORDERED that Defendant be committed to the custody of the Bureau of Prisons to be

 imprisoned for a term of ten (10) months,with five (5) months being served in the Bureau of Prisons

 and five (5) months being served in a halfway house, with twenty-four (24) months supervised

 release to follow.

          IT IS SO ORDERED.

          SIGNED this 10th day of July, 2017.



                                                              ____________________________________
                                                              ROBERT W. SCHROEDER III
                                                              UNITED STATES DISTRICT JUDGE
